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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA
                                  SOUTHWESTERN DIVISION


    Spirit Lake Tribe, on its own behalf and                   Case No. 1:18-cv-00222
    on behalf of its members,
    Standing Rock Sioux Tribe, on its
    own behalf and on behalf of its members,
    Dion Jackson, Kara Longie, Kim Twinn,                           REPLY
    Terry Yellow Fat, Leslie Peltier, and Clark            MEMORANDUM IN SUPPORT
    Peltier,                                                OF DEFENDANT’S MOTION
                                                              TO DISMISS SECOND
                                 Plaintiffs,                 AMENDED COMPLAINT

                  vs.

    Alvin Jaeger, in his official capacity as the
    Secretary of State,

                                 Defendant.


          Defendant Alvin Jaeger submits this brief in reply to Plaintiffs’ Opposition To

Defendant’s Motion To Dismiss Second Amended Complaint (Doc. 55) (“Pls.’ Br.”).

          A.     Spirit Lake and Standing Rock Lack Standing.

          Plaintiffs initially argue that if the Individual Plaintiffs1 have standing2, the Court

need not consider Defendant’s standing arguments with respect to the two tribes named

as plaintiffs, Spirit Lake Tribe and Standing Rock Sioux Tribe (collectively the “Tribes”).
Doc. 55, p. 6. In that regard, Plaintiffs cite Jones v. Gale, 470 F.3d 1261, 1265–66 (8th

Cir. 2006) (quoting Nat’l Wildlife Fed'n v. Agricultural Stabilization & Conservation Serv.,

955 F.2d 1199, 1203 (8th Cir. 1992)) (stating, “‘where one plaintiff establishes standing

1 Dion Jackson (“Jackson”), Kara Longie (“Longie”), Kim Twinn (“Twinn”), Terry Yellow
Fat (“Yellow Fat”), and Leslie and Clark Peltier (the “Peltiers”).
2 Contrary to Plaintiffs’ assertion (Doc. 55, p. 6), Defendant does not concede that the
Individual Plaintiffs have standing. While the Individual Plaintiffs’ standing is not at issue
in this motion, Defendant reserves the right to argue lack of standing on the part of the
Individual Plaintiffs if appropriate at a later time. See Davis v. Fed. Election Comm'n, 554
U.S. 724, 732–33 (2008) (“[I]t is not enough that the requisite interest exist at the outset.
To qualify as a case fit for federal-court adjudication, an actual controversy must be extant
at all stages of review.”) (quoting Arizonans for Official English v. Arizona, 520 U.S. 43
(1997)) (internal quotation marks omitted).
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to sue, the standing of other plaintiffs is immaterial’ to jurisdiction.”) However, regardless

of the alleged standing of the Individual Plaintiffs, the Court must dismiss the Tribes for

lack of standing. The Tribes are seeking different relief than the Individual Plaintiffs and

should not be permitted to litigate this case with no standing.

        With respect to Article III standing, the United States Supreme Court has

repeatedly emphasized that “standing is not dispensed in gross.” Town of Chester, N.Y.

v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017) (internal quotation marks omitted)

(quoting Davis v. Fed. Election Comm'n, 554 U.S. 724, 734 (2008); Lewis v. Casey, 518

U.S. 343, 358, n. 6 (1996)); see also DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 353

(2006); Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 185

(2000). “To the contrary, ‘a plaintiff must demonstrate standing for each claim he seeks

to press and for each form of relief that is sought.’” Id. (quoting Davis, 554 U.S. at 734)

(citing DaimlerChrysler, 547 U.S. at 352; Friends of the Earth, 528 U.S. at 185; Los

Angeles v. Lyons, 461 U.S. 95, 105–106, and n. 7 (1983)). When there are multiple

plaintiffs, the same principles apply, and “[a]t least one plaintiff must have standing to

seek each form of relief requested in the complaint.” Town of Chester N.Y., 137 S. Ct. at

1651.

        The relief sought by the Tribes is not the same as the relief sought by the Individual

Plaintiffs, and thus the Tribes cannot escape standing scrutiny. This is an “as applied”

case. Doc. 51, ¶¶ 6, 233, 268, 272, 273, and Requested Relief ¶¶ 1, 4. The Individual

Plaintiffs each claim they face the prospect of not being able to vote due to alleged

irregularities with respect to their residential street address or alleged lack of access to

supplemental documentation. Id. at ¶¶ 53-121. However, the Requested Relief in the

Second Amended Complaint goes well beyond the voting rights of the named Individual

Plaintiffs.   The Second Amended Complaint seeks a declaratory judgment and an

injunction with respect to North Dakota’s voter ID law as applied to “voters residing in the

counties in North Dakota that include territory within the exterior boundaries of an Indian

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reservation….”3 Id. at Requested Relief, ¶¶ 1-6. The broad relief requested, relating to

voters residing in any county that contains an Indian reservation, relies on the presence

of plaintiff Tribes, rather than merely the Individual Plaintiffs. If the Tribes wish to seek

this broad relief beyond the alleged concerns of the named Individual Plaintiffs, they must

demonstrate Article III standing in their own right and not rely on the standing of the

Individual Plaintiffs to avoid scrutiny.

       In any event, a court should dismiss a plaintiff from a case when standing is

successfully challenged as to that plaintiff, even when other plaintiffs have standing to

pursue the same claims or are seeking the same relief. Prior to the court proceeding to

the merits of a case, it must be satisfied that “the particular plaintiff” who seeks relief from

the court has standing. DaimlerChrysler, 547 U.S. at 352 (quoting Allen v. Wright, 468

U.S. 737, 752 (1984)). There are numerous similar cases in which some plaintiffs are

dismissed for lack of standing, while others are permitted to continue to make the same

claims. See, e.g., Miller v. Albright, 523 U.S. 420, 426-427 (1998) (explaining that

petitioner's father had originally been a co-plaintiff raising the same claim, but was

dismissed by the district court for lack of standing); Nunez Colon v. Toledo-Davila, 648

F.3d 15, 18 (1st Cir. 2011) (dismissing “the claims of the wife and children plaintiffs for

lack of standing”); Phillips v. Montgomery Cty., 24 F.3d 736, 737 (5th Cir. 1994) (per

curiam) (observing that the district court had permitted the suit to continue but “dismissed

one plaintiff” for lack of standing). The Tribes should not be permitted to evade dismissal

by relying on the standing of other plaintiffs when the tribes do not have standing to pursue

their own claims. If a litigant without standing wields the subpoena power, discovery

power, or other authority to compel action, it is a violation of Article III. See Hein v.

Freedom From Religion Found., Inc., 551 U.S. 587, 617 (2007) (Kennedy, J., concurring)


3 The Tribes have no standing to represent the interests of unnamed individuals who are
not members of their two specific tribes or do not reside on their reservation. Status as a
tribe does not confer standing on each tribe to represent the interests of all Native
Americans in North Dakota.
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(observing that the “burden [s] of discovery” justify tight restrictions on standing). The

Tribes assert that they have organizational standing and parens patriae standing. Both

assertions fail.

               1.    Organizational Standing.

       Plaintiffs argue that the Tribes have standing based on alleged diversion of

organizational resources. Pls.’ Br., at 6-11. Citing only one Nevada district court case on

point, Plaintiffs state, “[c]ourts have recognized that tribes have standing to bring claims

for injuries akin to those suffered by organizations.” Id. at 6-7 (citing S. Fork Band v. U.S.

Dep't of Interior, 643 F. Supp. 2d 1192, 1200 (D. Nev. 2009), aff'd in part, rev'd in part sub

nom., S. Fork Band Council Of W. Shoshone Of Nev. v. U.S. Dep't of Interior, 588 F.3d

718 (9th Cir. 2009). However, the case cited by Plaintiffs, S. Fork Band, provides no

analysis and cites no authority, simply making the conclusory statement that the plaintiff

tribes’ “standing can be viewed as analogous to organizational standing.” S. Fork Band,

643 F. Supp. 2d at 1200.       Further, S. Fork Band is inapplicable as that case only

discusses standing in the context of a claim by tribes against the federal government

under the Religious Freedom Restoration Act, a federal law that includes a waiver of

sovereign immunity and grants to tribes the right to bring claims for violations of the Act.

Id. at 1200-02, 42 U.S.C.A. § 2000bb-1. In support of their claim that tribes can establish

standing as organizations, Plaintiffs also cite the concurring opinion in Alfred L. Snapp &

Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592 (1982) and Crawford v. Marion Cty.

Election Bd., 472 F.3d 949 (7th Cir. 2007), aff'd, 553 U.S. 181, (2008), two cases which

do not in any way involve alleged organizational standing of tribes and thus have no

applicability. Pls.’ Br., at 7. Defendant has found no other case law finding a sovereign

tribe to be treated as an organization for standing purposes. With no Eighth Circuit case

law finding that sovereign tribes may establish standing in the same manner as private

organizations, this Court should not create new standing law simply by analogy to

organizational standing applicable to private organizations.

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       Even if the Tribes had the ability to assert organizational standing, which they do

not, the standard is not met in any event. To establish organizational standing based on

diversion of resources, Plaintiffs must allege they suffered “distinct and palpable injuries”

that are “fairly traceable” to Defendant’s alleged actions.   Ark. ACORN Fair Hous., Inc.

v. Greystone Dev. Ltd. Co., 160 F.3d 433, 434 (8th Cir. 1998) (citations and internal

quotation marks omitted). This can be shown where a plaintiff “devote[s] significant

resources to identify and counteract a defendant’s allegedly unlawful practices.” Id.

(citations and internal quotation marks omitted).        As discussed in more detail in

Defendant’s initial brief in support of this motion, the alleged diversion of resources

constituted nothing more than typical constituent services provided by sovereign tribes as

a liaison to the state, for constituents who failed to obtain updated ID, to which there is no

available recoupment from the state in federal court. Doc. 54, p. 18-23. The Tribes have

no standing to recoup resources they voluntarily expended as sovereign powers. Id.

              2.     Parens Patriae.

       Plaintiffs argue that the Tribes have standing to sue on behalf of their members as

parens patriae, incorrectly asserting that “Native American tribes have the same parens

patriae standing as states”. Pls.’ Br., at 11-18. In fact, the United States Supreme Court

and the Eighth Circuit Court of Appeals have never expressly recognized a tribe as having

parens patriae standing in any case. The Eighth Circuit Court of Appeals has previously

entertained but rejected arguments for tribal parens patraie in individual cases.

Importantly, in its discussion of parens patriae, the Eighth circuit and other courts have

applied a more restrictive test to Native American tribes than the United States Supreme

Court has applied to states. Plaintiffs rely primarily on Alfred L. Snapp & Son, Inc. for the

proposition that, in order to establish parens patriae, a sovereign must only allege injury

to a “sufficiently substantial segment of its population”, not an injury to “all” members of

the population. Pls.’ Br., at 14 (citing Alfred L. Snapp, 458 U.S. at 607). However, Alfred

L. Snapp involved a claim of parens patriae standing by the Commonwealth of Puerto

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Rico, not a tribe. Throughout the opinion, the United States Supreme Court discussed

parens patriae standing by states, and the Court held that the Commonwealth of Puerto

Rico is similarly situated with the states with respect parens patriae standing. Alfred L.

Snapp, 458 U.S. at 608, n. 15. The Court in Alfred L. Snapp did not recognize or lay out

the specific test for parens patriae with respect to tribes.

       After the decision in Alfred L. Snapp, multiple courts, including the Eighth Circuit

Court of Appeals, have discussed parens patriae asserted by tribes and found the alleged

injury must be to all members of the population, not merely a subset of the population.

U.S. v. Santee Sioux Tribe of Neb., 254 F.3d 728, 734 (8th Cir. 2001); Navajo Nation v.

Superior Court of State of Wash. for Yakima Cty., 47 F. Supp.2d 1233, 1240 (E.D. Wash.

1999); Kickapoo Traditional Tribe of Tex. v. Chacon, 46 F. Supp.2d 644, 651 (W.D. Tex.

1999); Ala. and Coushatta Tribes of Tex. v. Trustees of Big Sandy Indep. Sch. Dist., 817

F. Supp. 1319, 1327 (E.D. Tex. 1993); Kickapoo Tribe of Okla. v. Lujan, 728 F. Supp.

791, 795 (D.D.C. 1990). Plaintiffs ask the Court to distinguish these cases on other

grounds, or find them to be in conflict with United States Supreme Court case law in Alfred

L. Snapp. Pls.’ Br., at 15-17.     Indeed, some commentators have suggested that as a

matter of policy, Native American tribes should not be treated differently than states when

applying the doctrine of parens patriae, while recognizing that many courts do in fact treat

them differently, requiring that plaintiffs allege injury to all members of the population

rather than a “sufficiently substantial segment of its population”.     See Cami Fraser,

Protecting Native Americans: The Tribe As Parens Patriae, 5 Mich. J. Race & L. 665, 666

(2000). While Plaintiffs may believe the better rule of law is that tribes would be treated

the same as states under the doctrine of parens patriae, the Eighth Circuit Court of

Appeals is among the courts subsequent to Alfred L. Snapp that explicitly apply a different

standard to Native American tribes. Santee Sioux, 254 F.3d at 734. This Court should

not unjustifiably deviate from established Eighth Circuit case law involving a tribe, based

on an earlier United States Supreme Court case not involving a tribe.

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       The Tribes make no allegations on behalf of the many thousands of tribal members

not living on or near one of their respective reservations, or on behalf of the members

living on the South Dakota side of the Standing Rock Reservation. Even the “sting” of

alleged discrimination cannot be said to affect all members of both Tribes, including

members not living on a reservation, and many not even living in the State of North

Dakota4. Doc. 51, ¶ 37. Also, as discussed in Defendant’s initial brief in support of this

motion, the tribes have not asserted a quasi-sovereign interest. Doc. 54, p. 28-29.

Contrary to Plaintiffs’ assertions in its brief (Pls.’ Br., at 17-18), as to the tribes, the

pleadings only include interests in alleged resources spent by the Tribes, not quasi-

sovereign interests in health and well-being of residents or the Tribes being denied rightful

status in the federal system. Alfred L. Snapp & Son, Inc., 458 U.S. at 607.
       B.      All of the Plaintiffs’ claims against the Secretary should be dismissed
               with prejudice because their allegations fail to state a claim.

               1.     Individual Plaintiffs.
       With respect to the Individual Plaintiffs, the Plaintiffs’ Brief focuses on the capable
of repetition yet evading review standard, which is an exception to the mootness doctrine.
Pls.’ Br., at 20-28; Abdurrahman v. Dayton, 903 F.3d 813, 817 (8th Cir. 2018). “The
exception applies if ‘(1) the challenged action is in its duration too short to be fully litigated
prior to cessation or expiration, and (2) there is a reasonable expectation that the same
complaining party will be subject to the same action again.’” Abdurrahman, 903 F.3. at
817 (quoting Spencer v. Kemna, 523 U.S. 1, 17 (1998)).                As the parties asserting
jurisdiction, the Individual Plaintiffs “bear[] the burden of showing the presence of both
requirements.” Id. (citing Midwest Farmworker Emp’t &Training, Inc. v. U.S. Dep’t of
Labor, 200 F.3d 1198, 1201 (8th Cir. 2000)).
       While “[e]lection issues are among those most frequently saved from mootness by


4 Standing Rock Sioux Tribe should be dismissed for lack of standing since none of its
many members residing in South Dakota could possibly have a claim relating to elections
in North Dakota. In this case, Standing Rock Sioux Tribe is not attempting to represent
all of its members, or even a sufficiently substantial segment of its population.
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this exception”, Plaintiffs’ reliance on the exception is misplaced, as Plaintiffs have failed

to account for the unique election law and documentation at issue in this case.

Missourians for Fiscal Accountability v. Klahr, 830 F.3d 789, 795 (8th Cir. 2016) (citing

Nat’l Right to Life Political Action Comm. v. Connor, 323 F.3d 684, 691 (8th Cir. 2003)).

Plaintiffs argue the supplemental documentation provided to each of the Individual

Plaintiffs, allowing them to vote in the 2018 election, cannot be used to establish

mootness or failure to state a claim because the documents are the result of voluntary

acts undertaken by the Defendant during this lawsuit. Pls.’ Br., at 20, n. 3 (citing Lankford

v. Sherman, 451 F.3d 496, 503 (8th Cir. 2006) (“It is well-settled that ‘a defendant's

voluntary cessation of a challenged practice does not deprive a federal court of its power

to determine the legality of the practice…. The defendant faces a heavy burden of

showing that “the challenged conduct cannot reasonably be expected to start up again.”)

(internal quotation marks omitted). However, Plaintiff’s ignore that the voter ID law at

issue in this case includes a catch-all provision, which explicitly contemplates that state

officials may issue documents reflecting residential street address to cure voting issues.

       While Plaintiffs would have preferred that North Dakota’s voter ID law omit a
residential street address requirement all together, or allow voters to simply identify their
residences on a map in order to vote (Doc. 51, Requested Relief, ¶¶ 1-6), the North
Dakota Legislative Assembly required more. In order to vote in elections in North Dakota,
a qualified voter must present a valid form of identification, including the elector’s legal
name, current residential street address in North Dakota, and date of birth. N.D. Cent.
Code § 16.1-01-04.1(2)(a)-(c). If the valid form of identification does not contain all of the
required information, or the information is not current, the ID can be supplemented with
various listed document types. N.D. Cent. Code § 16.1-01-04.1(3)(b)(1)-(5). The last of
the acceptable supplemental document types is a catch-all: “[a] document issued by a
federal, state, or local government.” N.D. Cent. Code § 16.1-01-04.1(3)(b)(5). This broad
catch all only has two requirements for supplemental documentation: 1) it must contain


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the required information missing or outdated on the valid ID (current residential street
address in this case), and 2) it must be issued by a federal, state, or local government.
N.D. Cent. Code §§ 16.1-01-04.1(2)(a)-(c), 16.1-01-04.1(3)(b)(5). Literally any document
that meets these two criteria is sufficient for voting purposes when required information
is missing on a valid ID. The supplemental documentation issued to the Individual
Plaintiffs in this case was sufficient for the 2018 election and will continue to be sufficient
for all future elections as long as they continue to reside at their current residential
addresses. As to each Individual Plaintiff, supplemental documentation was issued by
county auditors and/or the Secretary in advance of the 2018 election and the two criteria
for these documents is met for past and future elections. Doc. 34, 34-1, 34-2, 34-3; Doc.
51, ¶¶ 75, 103, 117. North Dakota’s voter ID law is flexible enough to give federal, state,
and local officials the power to cure issues for individual voters with a simple letter or any
other document, which is what happened with respect to the Individual Plaintiffs. While
the documentation was issued after the commencement of this lawsuit, when the
Individual Plaintiffs presented themselves, there is no allegation that supplemental
documentation was unsuccessfully sought from applicable county auditors or 911
coordinators prior to commencing suit. The Individual Plaintiffs are suing the Secretary
for his application of North Dakota’s voter ID law to them, even though he promptly acted
in accordance with the catch-all provision in North Dakota law to ensure the Individual
Plaintiffs had all the documentation they needed to vote in the 2018 and subsequent
elections.
       In any event, with respect to the Individual Plaintiffs, there is no “reasonable
expectation that the same complaining part[ies] will be subject to the same action again”,
and they have thus failed to meet their burden to establish that their claims are saved by
the capable of repetition yet evading review standard. Abdurrahman, 903 F.3. at 817.
While the Individual Plaintiffs are not required to prove a recurrence of the dispute is more
probable than not, they must still show that the dispute is capable of repetition and there
must be a reasonable expectation that it will be repeated. Klahr, 830 F.3d at 795;


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Abdurrahman, 903 F.3. at 817. The Individual Plaintiffs rely on pure speculation that one
day they may lose their documentation5 or may move to another residence within a
reservation with the exact same residential street address issue alleged in this lawsuit,
and have the 911 coordinator, county auditor, or other government official refuse to give
new supplemental documentation (or otherwise not have access to supplemental
documentation). Even a liberal reading of the Individual Plaintiffs’ allegations in their
pleadings do not make it reasonably likely that these specific plaintiffs will run into voting
issues related to their residential street address. No Individual Plaintiff has alleged that
he or she has any plans to move or that a move is intended to a location with a residential
street address issue.
                2.     Spirit Lake and Standing Rock.
         The Tribes do not dispute that they lack any right to bring constitutional or Voting
Rights Act claims on their own behalf because they are not “persons” or “citizens of the
United States”. Doc. 55, p. 18. Rather, to assert they have stated a claim, the Tribes rely
solely on their seeking to vindicate the rights of their members. This argument fails for
the reasons discussed above with respect to organizational and parens patraie standing.
The Tribes have no right to sue on behalf of their members in this case.
         Dated this 21st day of August, 2019.

        State of North Dakota
        Wayne Stenehjem
        Attorney General
                                          By:    /s/ David R. Phillips
    By:   /s/ Matthew A. Sagsveen               David  R. Phillips
          Matthew A. Sagsveen                   Assistant  Attorney General
          Solicitor General                     State  Bar ID No. 06116
          State Bar ID No. 05613                Office of Attorney   General
          Office of Attorney General            500  North  9th Street
          500 North 9th Street                  Bismarck, ND 58501-4509
          Bismarck, ND 58501-4509               Telephone (701) 328-3640
          Telephone (701) 328-3640              Facsimile (701) 328-4300
          Facsimile (701) 328-4300              Email drphillips@nd.gov
          Email masagsve@nd.go
                                 Attorneys for Defendant.


5 In which case, they could ask state officials for another copy, or simply obtain copies
from their own attorneys.
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